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    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
                               (Western Division – Los Angeles)
   10
   11
   12
        JOEL PETER CLARKE,                      )     Case No. 2:19-cv-09150-CAS-RAO
                                                )
   13         Plaintiff,                        )     [PROPOSED] ORDER AWARDING
   14                                           )     EQUAL ACCESS TO JUSTICE ACT
                     v.                         )     ATTORNEY FEES AND EXPENSES
   15                                           )     PURSUANT TO 28 U.S.C. § 2412(d)
   16   KILOLO KIJAKAZI,                        )     AND COSTS PURSUANT TO 28
        Acting Commissioner of Social           )     U.S.C. § 1920
   17
        Security,                               )
   18                                           )
   19         Defendant.                        )
   20
              Based upon the parties’ Stipulation for the Award and Payment of Equal
   21
        Access to Justice Act Fees, Costs, and Expenses:
   22
              IT IS ORDERED that fees and expenses in the amount of $4,500.00 as
   23
        authorized by 28 U.S.C. § 2412, and costs in the amount of $0.00 as authorized by
   24
        28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.
   25
   26
        DATE: November 24, 2021
   27
   28                                   ______________________________________
                                        ROZELLA A. OLIVER
                                        UNITED STATES MAGISTRATE JUDGE

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